Case 8:19-md-02879-PWG Document 834 Filed 06/29/21 Page 1 of 15

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
SOUTHERN DIVISION

IN RE MARRIOTT INTERNATIONAL INC.
CUSTOMER DATA SECURITY
BREACH LITIGATION
MDL NO. 19-MD-2879

(JUDGE GRIMM)

THIS DOCUMENT RELATES TO THE CONSUMER TRACT

I. Introduction

The documents subject to plaintiffs’ present challenge to Marriott’s claim of
privilege were created incident to Marriott’s use of an IBM program called
Guardium Engagement, which detects database intrusions, and X-Force Red, an
IBM vulnerability testing team. Marriott has listed on its privilege log documents
pertaining to these programs. Letter of June 7, 2021. According to that letter, the
documents being withheld were created for a business purpose and not for

provision of legal services to Marriott by BakerHostetler, its counsel.

Plaintiffs claim that documents they have received in discovery indicate that
since at least 2011, Marriott (or Starwood) retained IBM to perform what plaintiffs

call “cyber-security related products and services.” Letter of June 7, 2021, at 1.

According to the plaintiffs’ letter, “for many years, Guardium was used by
Marriott both for vulnerability scanning and to provide database intrusion and
related alerts.” Id. at 2. Plaintiffs claim that by late November 2018, however,

Marriott “quietly engaged” IBM to assist Marriott “with questions related to
Case 8:19-md-02879-PWG Document 834 Filed 06/29/21 Page 2 of 15

Marriott’s use of Guardium.” Id. at 2. This resulted in a new Statement of Work for
IBM’s services, which was countersigned by BakerHostetler, Marriott’s counsel in
this matter. Documents generated by IBM in their Guardium and X-Force Red
programs are, according to plaintiffs, not privileged because IBM is providing the
same services it has provided Marriott for many years and “manufacturing
artificially privileges ” between itself and third-party vendors like IBM. They urge
Judge Grimm to reject what they call Marriott’s machinations and order Marriott to
give them the documents claimed to be privileged in the privilege log. Letter of
June 7, 2021 at 1-2.

As I understand the plaintiffs’ letter, they first demand that Judge Grimm
reject Marriott’s privilege claim because Marriott has consistently abused its
privileges. I shall, therefore, speak first to whether the manner in which Marriott
has asserted privileges, in this case, should require Judge Grimm to reject
Marriott’s most recent claim of privilege for that reason alone. I will then turn to
whether the record, in this case, supports the claim that the documents placed in

issue by that letter were created for a business purpose.

II. The attempt to defeat the privilege claims.

Plaintiffs accuse Marriott of unethical behavior. They say that (1) Marriott
has consistently attempted to create a privilege between itself and its vendors
artificially, (2) Marriott has consistently (and improperly) designated nearly every
cybersecurity document as privileged, and (3) Marriott engages in sham
agreements with its vendors. Letter of June 7, 2021, passim. Plaintiffs seek to
defeat the claims of privilege because of Marriott’s unfair and deceptive assertion

of the attorney-client and work-product privileges.
Case 8:19-md-02879-PWG Document 834 Filed 06/29/21 Page 3 of 15

Fed. R. Evid. 501 directs the court to consult the common law in the light of
reason and experience in resolving a claim of privilege or, in this case, its abuse.
Therefore, the court must ascertain how the common law, as articulated by the

state and federal courts, has been applied to the situation.

The Supreme Court’s decision in Swindler & Berlin v. United States, 524
U.S. 399 (1998) points the way. The case involved the effort by a Special

Prosecutor to obtain the notes an attorney took when he interviewed his client who
had died.

The D.C. Circuit balanced the privilege’s policy of encouraging clients to be
candid with their lawyers against the needs of law enforcement and ordered
production of the notes. A dissenting judge concluded the common law rule—the

privilege survived the client’s death—should control. Id. at 402-403.

The Supreme Court reversed. It concluded that the appropriate analysis was
guided by the common law, i.e., case law that interpreted the privilege. When that
case law indicated that the common law rule was that the privilege survived the
client’s death, it fell to the party seeking to defeat the privilege to show why reason

and experience required a different result. Id.

The first question is whether there is common law precedent for the
proposition that a court will deny a privilege claim because the claiming party has

asserted privilege as Marriott has. There is none.
Case 8:19-md-02879-PWG Document 834 Filed 06/29/21 Page 4 of 15

Plaintiffs claim that Marriott’s behavior is nefarious. But that claim misses
the forest for the trees. Unquestionably, Marriott has pushed its privilege claims
aggressively and to their limits. But it has done so openly by stating its position in
its privilege logs and its filings. Plaintiffs, for their part, have challenged those
claims, as they are doing now. This court (whether I or Judge Grimm) have then
adjudicated the privilege claim. Marriott, like most litigants, has lost some and won
some. See, e.g., ECF No. 634. If Marriott is secretly and deviously up to no good,

it is not very good at it.

Furthermore, there is certainly no common law precedent for the proposition
that Marriott’s behavior warrants the sanction of its right to assert that certain
documents are privileged. It is certainly true that from the inception of this case,
BakerHostetler and one of its partners, Craig Hoffman, have made every effort to
create a working environment for its client, its employees, and Marriott’s vendors
that is insulated from intrusion by the use of attorney-client and work product
privileges. Marriott has, however, done so openly and provided the documentation

conceming the creation of that environment.

It is equally true that plaintiffs have resisted the creation of that environment
as an impediment to discovery. This court then had to consider plaintiffs’
challenges to what Marriott has done. In the resulting litigation, Marriott’s counsel
tried to protect the environment that Hoffman and BakerHostetler have created,

and the plaintiffs tried to destroy it with equal aggressiveness.

Thus, all one can say about Marriott and its counsel is that counsel created a

work environment that counsel believed was consistent with Marriott’s privileges
Case 8:19-md-02879-PWG Document 834 Filed 06/29/21 Page 5 of 15

and then defended that environment when plaintiffs challenged it. If that is enough

to vitiate the privileges claimed, they have ceased to exist.

I, therefore, find no merit in plaintiffs’ claim that the privilege claims
asserted by Marriott should be forfeited because of what plaintiffs call Marriott’s

machinations. Letter of June 7, 2021, at 1.

Il. Guardium and X-Force Red

Plaintiffs claim that there is a history of IBM providing services to Marriott
and Starwood, including the Guardium and X-Force Red, before discovering the
breach in September 2018. The services IBM provided after the breach were the
same kind of services IBM provided before the breach. Therefore, IBM did not
provide the post-breach services in anticipation of the litigation that flowed from
the breach. Instead, they provided the same services that they had provided under
earlier agreements for the business purpose of remediating the consequences of the
breach. But Marriott and its counsel deviously disguised that reality so that
Marriott could claim privileges to defeat discovery into what IBM did. Plaintiffs

therefore state:

Marriott cannot shield its investigation and underlying
facts by having its attorneys engage in sham agreements
with vendors on its behalf to perform work that was
already to occur under pre-existing obligations, which
was necessary to investigate and remediate a breach to

continue business operations. Nor can it shield routine
Case 8:19-md-02879-PWG Document 834 Filed 06/29/21 Page 6 of 15

vulnerability and penetration testing by similarly routing

it through counsel.

Here, Marriott needed to uncover the cause of the breach
and remediate the breach as a business purpose,
regardless of potential litigation (and it had already

contracted with IBM to perform those services).
Letter of July 7, 2001, at 4 (emphasis original).

Marriott argues to the contrary that BakerHostetler, on behalf of its client
Marriott, retained IBM for the Guardium and X-Force Red work in two new
engagements, “each of which was separate from any prior work that IBM had done
for Marriott.” Letter of June 25, 2021.

The crucial question then becomes why Marriott hired IBM.

IV. Why was IBM hired?

I make the following findings of fact to resolve that question.
Case 8:19-md-02879-PWG Document 834 Filed 06/29/21 Page 7 of 15

FINDINGS OF FACT
Amo Van Der Walt

1. Arno Van Der Walt is the Chief Information Security Officer at
Marriott and has held that position since January 2018. Deft. Ex H at para 1. He

was responsible for investigating the breach at issue in this case. Id.

2. On September 8, 2018, the defendant Accenture advised Marriott
employees that the IBM Guardium application had issued an alert regarding an
SQL query to a certain database table. Two days later, Marriott retained
BakerHostetler “to conduct an investigation regarding the Guardium event alert to
enable BakerHostetler to advise Marriott, initially regarding its potential
obligations under contractual obligations and laws, and also in anticipation of
payments demands, indemnification demands, and potential regulatory
investigations and lawsuits.” Id., para 5. Craig Hoffman of that firm “managed and

directed the investigation.” Id., para 6.

3. According to Van Der Walt, neither Hoffman nor his firm had the
tools and knowledge about the Guardium application to investigate it. Id., para 7.
Hoffman tried to find a database expert who could help him understand how the
Guardium tool worked in relation to a query of a sensitive table in the NDS

database without triggering a Guardium alert but could not find one. Id., para 8.

4. Van Der Walt considered hiring IBM to help Hoffman make the
query. Id., para 9.
Case 8:19-md-02879-PWG Document 834 Filed 06/29/21 Page 8 of 15

5. On November 15, 2018, Van Der Walt reached out to Jonathan C.
Thwaites, an IBM Client Director, and asked him for the name of IBM’s best
Guardium expert. Id., para 11.

6. | Thwaites called back and said that IBM had some people who could
help Van Der Walt. Van Der Walt told Thwaites that the potential engagement was
at the behest of BakerHostetler and would therefore be privileged “because

Marriott needed legal advice.” Id., para 12.

7. Van Der Walt explains that although Starwood and Marriott had
previously contracted with IBM for services, including licenses for the Guardium
application, “there was no pre-existing engagement between IBM and Starwood or
Marriott by which IBM provided the services Mr. Hoffman was seeking in
November 2018.” Id., para 13.

8. Van Der Walt also notes that there was no business justification for
hiring IBM because Marriott’s guest reservation system did not use Guardium. Id.,

para 15.

9. Hoffman recommended to Van Der Walt that Marriott perform a
security assessment to review the health of Marriott’s mainframe systems to
provide legal advice to Marriott. Id., para 16. Van Der Walt, therefore, indicates
that BakerHostetler engaged IBM on Marriott’s behalf in March 2019 to carry out
a security assessment of aspects of Marriott’s guest reservation and loyalty

databases. Id., para 17.
Case 8:19-md-02879-PWG Document 834 Filed 06/29/21 Page 9 of 15

10. Neither Marriott nor Starwood had previously engaged IBM to
provide the types of services called for in the X-Force Red engagement entered
into between IBM and BakerHostetler. Id., para 17-18.

John K. Warren

11. John K. Warren is the Vice President & Senior Counsel, Global
Compliance, Data Security & Privacy at Marriott. He has submitted an earlier
declaration about Marriott’s retention of BakerHostetler and its purposes. ECF No.
624 at 1-3. In his newest declaration, he reaffirms that Marriott did not hire
BakerHostetler to provide business advice in connection with the data breach. Deft
Ex. G para 7. Instead, Marriott hired BakerHostetler to provide “advice regarding
contractual and legal obligations and later in anticipation of payment demands,

indemnification demands, and regulatory investigations and lawsuits.” Id., para 6.

12. On November 14, 2018, Warren received an email from Craig
Hoffman of BakerHostetler, which is explained above in paragraph 5-6 that
summarizes what Van Der Walt did on November 15, 2021.

13. Warren denies that there was a business purpose for Marriott’s
engagement of IBM. He indicates, instead, that “the decision to engage a database
expert who could help BakerHostetler understand a query of a sensitive table in the
NDS database without triggering a Guardium alert was for a legal purpose and an
outgrowth of the communications among the Marriott Law Department (myself
included) and Marriott’s outside counsel at BakerHostetler.” Id., para 14. Like Van

Der Walt, he indicates that there was no business purpose in engaging IBM to
Case 8:19-md-02879-PWG Document 834 Filed 06/29/21 Page 10 of 15

review Guardium’s alert on a database that would be retired. In fact, the NDS

database was decommissioned and was not used after December 2018.

Craig A. Hoffman

14. Hoffman is a partner at BakerHostetler. He has provided declarations
that I have summarized in my prior Reports and Recommendations. ECF Nos. 634
and 707.

15. Hoffman explains that in November 2018, his firm engaged IBM to
conduct a narrow and specific investigation to obtain and interpret information
regarding the operation of the Guardium application in connection with the NDS
database to “assist me in providing legal advice to Marriott in anticipation of
adverse regulatory proceedings and litigation.” Deft. Ex. F para 3.

16. The investigation of the Starwood network in September 2018 began
with an alert by a Guardium application rule. Guardium is an IBM software
application with two primary functions: (1) logging database events and (2) issuing
alerts when conditions that meet a definite rule occur. One Guardium rule was
written to generate an alert when a database administrator account was used to
query a table that contained payment card data. Such an alert was issued on
September 7, 2018, due to a SQL query seeking the number of rows in the
database’s “Guest Master Profile” table. Id., para 4. On November 13, 2018, an
encrypted .rar file was identified on a device in Starwood’s network that contained
a file named “Guest_Master_Profile.dmp.” The -rar file was copied to that device

on September 8, 2018. Id., para 5.

10
Case 8:19-md-02879-PWG Document 834 Filed 06/29/21 Page 11 of 15

17. Hoffman concluded that he needed a forensic firm to investigate the
Guardium aspect of the investigation of the breach. He was unsuccessful and
reached out to Marriott’s internal legal team to identify a Guardium application
expert. As explained above, Hoffman asked Van der Walt if he knew of any such
experts, including IBM, since Guardium is an IBM product. Id., para 7. The calls
Van der Walt made on November 15, 2018, were therefore done at Hoffman’s

direction to find the expert Hoffman needed. Id., para 8.

18. Van der Walt then scheduled a “scoping” call with IBM on November
18, 2021. The next morning Hoffman sent an email to IBM telling it to prepare a
scope of work “specific to the investigative, analytical items I requested.” Hoffman
“made it clear to IBM that the statement of work would be a three-party agreement
specifying that BakerHostetler was engaging IBM on behalf of Marriott to assist
BakerHostetler in providing legal advice to Marriott.” Id., para 11.

19. IBM, Marriott, and Hoffman (for BakerHostetler) signed a statement
of work in January 2019. He attests that “the expert assistance I received from IBM
was not already provided for under a pre-existing contractual relationship between
Marriott and IBM.” Id., para 13.

20. Hoffman also states that the assessment done by the IBM X-Force
Red team was a post-incident security assessment. It has been Hoffman’s
experience that after a client reveals a data breach, the client should do a security
assessment “as part of developing the legal strategy for responding to adverse
regulatory investigations and lawsuits.” Id., para 19. He, therefore, engaged IBM

on behalf of Marriott to conduct the security assessment using X-Force Red. The

11
Case 8:19-md-02879-PWG Document 834 Filed 06/29/21 Page 12 of 15

work was not covered by any pre-existing contract between IBM and Marriott. Id.,
para 23-24.

The testimony of Alan Booth

21. Alan Booth testified as the Fed. R. Civ. 30(b)(6) witness for IBM.

22. He started to work for IBM in 2002 and is now the client technical
leader for the Marriott International Account for IBM. Transcript of deposition of
Alan Booth, June 16, 2021, (hereafter “Tr.”) at 16.

23. Marriott first contacted IBM on or about September 15, 2018, after
the discovery of the breach, which is the subject of this case. Tr. at 53. The initial
contact was for IBM to bring “Guardium expertise to review some potential

suspicious activities.” Tr. at 55.

24. IBM, however, did not perform any services based on this request.
Although there were meetings and discussions limited to what type of questions
IBM should be asking, the process at this point was advisory. Tr. at 55-56.
Although IBM was asked to review the Guardium policies, IBM never got them
and did not get responses to its communications. Tr. at 56. This changed on
November 15, 2018, the date of the next communication between Marriott and
IBM.

25. Asnoted above, this was the day when Van der Walt had his
conversation with Thwaites about Hoffman’s wanting to hire a Guardium expert.

The formal engagement by Marriott of IBM began on November 18. Tr. at 63. The

12
Case 8:19-md-02879-PWG Document 834 Filed 06/29/21 Page 13 of 15

scope of IBM’s work was “to investigate some suspicious activity that happened
on the NDS database.” Tr. at 64.

26. Thus, and beginning on November 18, 2018, Yosef Rozenblit from
Guardium lab services was engaged to investigate suspicious activity. Tr. at 70.
Asked what forensic activities this gentleman provided, Booth stated: “So, Yosef
worked with—under the direction of counsel, worked with Anna Loshkareva [of
Marriott] . . . and she worked with technicians from Accenture to get him access to
the system via WebEx and he was able to investigate and evaluate the system.” Tr.
at 70. The investigation was not an evaluation of the Guardium environment. Tr. at
71. IBM did not undertake to review the Guardium environment. Instead, IBM

“reviewed activities that were recorded by the Guardium system.” Tr. at 71-72.

27. IBMreviewed the logs apparently generated by the work of
Rozenblit. Tr. at 81. The logs from the Guardium system showed that IBM looked
at that system for a particular date range and observed whether there was
suspicious activity from a particular address. Tr. at 85. These logs were from late

August to mid-September. Tr. at 86.

Final Conclusion

I find on the basis of my findings that there is no evidentiary support in the
record for plaintiffs’ assertion that IBM provided the same services it had provided
under earlier agreements for the business purpose of remediating the consequences
of the breach. The evidence indicates the opposite is true. Hoffman had a precise,
limited problem and had his client retain IBM experts to solve it. He did this to

assist his client in its response to regulatory authorities and in the litigation (such

13
Case 8:19-md-02879-PWG Document 834 Filed 06/29/21 Page 14 of 15

as this case) that was anticipated. Hoffman also wanted the X-Force Red analysis
of the post-breach environment of Marriott’s devices because, in his experience,
that information might be important to present to regulatory authorities. Every
person who provided a sworn statement confirmed the truth and accuracy of what

Hoffman said.

Against this wall of evidence, plaintiffs throw a few rocks. They harp on a
document in which IBM stated that it does not perform forensic services. Letter of
June 7, 2012, at 2. But Booth testified this statement of not performing forensic
services was a reference to IBM activity in September 2018, which resulted in
nothing. Tr. at 67. It had nothing to do with IBM’s engagement and work after
November 18, 2018.

Plaintiffs also point to the statements in various documents that IBM
evaluated Marriott’s system or environment and made recommendations.
According to plaintiffs, this proves that what IBM did after November 18, 2018,

was simply the same kind of thing it had done for Marriott in the past.

But the use of those words after November 2018, or that IBM may have
evaluated a Marriott system or made recommendations concerning it incident to
the investigations Marriott sought, does not negate that Marriott retained IBM for a
specific and distinct purpose. That an act resulted in a similar occurrence as
another act does not mean that the person doing the act had the same purpose each
time he did the act. Thus, that the post-November 2018 work yielded a result or
results similar to work done before that date cannot negate the universal agreement
of the witnesses that Marriott had retained IBM for a specific purpose—to aid

Hoffman in his defense of Marriott.

14
Case 8:19-md-02879-PWG Document 834 Filed 06/29/21 Page 15 of 15

Finding no evidentiary support for plaintiffs’ assertions that Marriott is

claiming falsely and improperly the privilege to the documents on the log, I

recommend that their demand that Marriott provide these documents be rejected.

je Ig 2041

15
